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                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  WESTERN DIVISION

BRIETZ, EDWIN,

      Plaintiff,

v.                                                            CASE NO.: 4:16-cv-00159 DPM

CREDIT ACCEPTANCE CORPORATION,

      Defendant.
                               ________        /


                                      NOTICE OF SETTLEMENT

       Plaintiff, Edwin Brietz, by and through the undersigned counsel, hereby notifies the

Court that the Parties have reached a settlement of this matter. Plaintiff will file dismissal of this

action with prejudice upon the execution and completion of certain terms of the settlement

agreement.

       Respectfully submitted this 25th day of April, 2017.

                                                        /s/ Jared M. Lee
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                                CERTIFICATE OF SERVICE

               I hereby certify on this 25th day of April, 2017, I electronically filed the foregoing
with the Clerk of the Court by using the CM/ECF system and a Notice of this filing will be sent
to the following by operation of the Court’s Electronic Filing System:
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                                                       /s/ Jared M. Lee
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